Case 3:21-md-02981-JD Document 958-10 Filed 05/02/24 Page 1 of 5




                 EXHIBIT I
                               Case 3:21-md-02981-JD Document 958-10 Filed 05/02/24 Page 2 of 5
https //pnvacymtemational org/advocacy,33201open-letter-9(l0Clle                                                                                                                Apnl 29 2024


                                                                                                        ~   SIGN UP TO NEWSlETTER                                           Q. SEARCH


                                                                                             NEWS       ACT       CAMPAIGNS         LEA.RN      IMPACT         ABOUT




                                        An open letter to Google
                                        Privacy International and over 50 other organisations
                                        have submitted a letter to Alphabet Inc. CEO Sundar
                                        Pichai asking Google to take act ion against exploitative
                                        pre-installed software on Android devices.




                                            KEY ADVOCACY POINTS

                                             •   Individ uals should b e able to permanently un1nstall the apps on
                                                 t heir p hones. This should include any related background
                                                 services that continue to run even if the app s are disabled.

                                                 Pre-installed apps should a dhere to the same scrutiny as Play
                                                 Store apps, especially in relation to custom p ermissions.

                                             •   Pre -installed apps should have some update mechanism,
                                                 p referably through Google Ploy and without o user account.

                                                 Google should refuse to certify o device on privacy grounds,
                                                 where manufacturers or vendors have a ttempted to exploit
                                                 users in t his way.




       CONTENT TYPE                                                                                                                     TAGS
       Advocacy                                                                                                                         LEAAHMORE
                                                                                                                                        Poverty

                                                                                                                                        Smart phones
       POST DATE
       8th January 2020
                                                                                                                                        OUR CAMPAIGt-1
                                                                                                                                        Provocy shouldn1 be o luX\Jry


                                                                                                                                        MORE ABOUT OOR PARTNER
                                                                                                                                        Asociaci6n po, los De1echos Civiles

                                                                                                                                        Centre to, lntellectuol Property encl
                                                                                                                                        lnfo,motion Technology Low

                                                                                                                                        Coding Rights

                                                                                                                                        Dotos Proteg.:Jos

                                        You can find the letter below. Add your voice to this campaign by signing our                   Digital Rights Foundation

                                        petition if you believe that its t ime Google stopped enabling exploitation.                    founclot,on ro, Med10 Alte<notwes

                                                                                                                                        fundaci6n Korlsmo
                                        Note: This letter is also available in~    ond Spanish
                                                                                                                                        H,perclerecho

                                                                                                                                        Red en Oefenso de los Derechos O1g1toles
                                        Dear Mr. Picha!,
                                                                                                                                        TEDIC

                                                                                                                                        The Institute for Pohcy Reseorch Md
                                        We, the undersigned, agree with you: privacy cannot b e a luxury offered
                                                                                                                                        11.dvococy (EL.SAM)
                                        only to those people who con afford it.
                                                                                                                                        Unwonted Witness

                                        And yet, Android Partners - who use the Android trademark and branding -
                                        ore manufacturing devices that contain pre - installed opps that cannot be
                                        deleted (often known as "bloatwore"), which can leave users vulnerable to
                                        their d ata being co llected, shored and exposed without t heir knowledge or
                                        consent.

                                        These p hones carry the "Google Play Protect" branding, but research shows
                                        that 91%of pre-installed a ppsdo not appear in Google Ploy- Google's opp
Casestore.
      3:21-md-02981-JD Document 958-10 Filed 05/02/24 Page 3 of 5
    These pre-installed apps can have privileged custom permissions that let
    them operate outside the Android security model. This means permissions
    can be defined by the opp - including access to the microphone, camera
    and location - without triggering the standard Android security prompts.
    Users are therefore completely in the dark about these serious intrusions.

    We are concerned that this leaves users vulnerable to the exploitative
    business practices of cheap smartphone manufacturers around the world .

    The changes we believe are needed most urgently are as follows:

    •   Individuals should be able to permanently uninstall the apps on their
        phones. This should include any related background services that
        continue to run even if the apps are disabled.

    •   Pre-installed apps should adhere to the same scrutiny as Play Store
        apps, especially in relation to custom permissions.

    •   Pre-installed apps should have some update mechanism, preferably
        through Google Play and without a user account.

    •   Google should refuse to certify a device on privacy grounds, where
        manufacturers or vendors have attempted to exploit users in t his way.

    We, the undersigned, believe these fair and reasonable changes would
    make a huge difference to millions of people around the world who should
    not have to trade their privacy and security for access to a smartphone.

    We urge you to use your position as an influential agent in the ecosystem to
    protect people and stop manufacturers from exploiting them in a race to the
    bottom on the pricing of smartphones.

    Yours sincerely,

    American Civil Liberties Union (ACLU)

    Afghanistan Journalists Center (AFJC)

    Americans for Democracy and Human Rights in Bahrain (ADHRB)

    Amnesty International

    Asociaci6n por los Derechos Civil es (ADC)

    Association for Progressive Communications (APC)

    Association for Technology and Internet (ApTl)

    Association of Caribbean Media Workers

    Australian Privacy Foundation

    Center for Digital Democracy

    Centre for Intellectual Property and Information Technology Law (CIPIT)

    CitizenD

    Civil Liberties Union for Europe

    Coding Rights

    Consumer Association the Quality of Life-EKPIZO

    Datos Protegidos

    Digital Rights Foundation (ORF)

    Douwe Korff, Emeritus Professor of International Law, London Metropolitan
    University and Associate of the Oxford Martin School, University of Oxford

    DuckDuckGo

    Electronic Frontier Foundation (EFF)
      Case 3:21-md-02981-JD Document 958-10 Filed 05/02/24 Page 4 of 5
          Forbrukerradet //Norwegian Consumer Council

          Foundation for Media Alternatives

         Free Media Movement (FMM)

          Freedom Forum

          Fundaci6n Karisma

         Gulf Centre for Human R,ghts(GCHR)

         Hiperderecho

          Homo Digitalis

          IJCMoldovo

          Initiative for Freedom of Expression- Turkey (I Fox)

         lr1sh Council for Civil Liberties

          Media Foundation for West Africa

         Media Institute of Southern Africa (MISA)

          Media Policy and Democracy Project (University of Johannesburg)

          Media Pohcy Institute (MPI)

          Media Watch

         Metamorphosis Foundation for Internet and Society

         Open Rights Group (ORG)

          Palestinian Center For Development & Media Freedoms (MADA)

          Panoptykon

          Paradigm Initiative

         PENCanada

         Philippine Alliance of Human Rights Advocates (PAHRA)

         Privacy Internat ional

          Public C ,t1zen

          Red en Defense de los De rec hos D1g1ta les (R3D)

         Syrian Center for Media and Freedom of Expression (SCM)

         TEDIC

         The Danish Consumer Council

         The Institute for Policy Research and Advocacy (ELSAM)

         The Tor Project

         Unwanted Witness

         Vigilance for Democracy and the Civic State




RELATED CONTENT
                            Case 3:21-md-02981-JD Document 958-10 Filed 05/02/24 Page 5 of 5




Pl response to UK                                 An open letter to TECNO                          How one TECNO phone is                         The cost of privacy: 3 years
Government consultation on                        Mobile                                           putting users' privacy and                     support for high-end
Technical Capabilities                                                                             security at risk                               Samsung phones, but what
                                                  A coafition of 11civil society organisations
Notices                                           have ca led on TECNO to make serious
                                                                                                                                                  about the rest?
                                                                                                   Privocy lme, natiaool bought a TECNO
                                                  changes to their practices protect users         smartphone, and we discovered se,ious
Among the myriad of surveillance powe,s                                                                                                           Samsung now offers 3 years of support
                                                  privacy and security. COI-ITINUE READING         concerns with the phone's operating
it already possesses, the UK government                                                                                                           for their most expensive models. but
wams the power to stop companies -                                                                 system and pre- installed opp,;. ~             cheaper phones ore still left oul of the
anyw~ere ;n the world - from making                                                                ~                                              equation, CONTINUE READING
security imp,ovements to their se, vices
without opp,ovol. To fall under this powe,,
the company only has to service UK
users, and yet the effects w1ol be felt by
every user, every where CONTINUE READING




                                                GET INVO LVED • ACT WITH US • DONATE • JOIN




                                                                                                               a
                                                                                                                                                                                             0
NEWSLETTER                                               FOLLOW US           f     El
Click here to sign-up to Ollf ,r,ojli,>g-lisd
                                                         NAVIGATION          NEWS        ACT       CAMPAIGNS         LEARN        IMPACT          ABOUT         DONATE




                                                         HOW WE FIGHT              ABOUT           PRIVACY                RESOURCES                      CONTACT US
                                                         Our Global Reach          Ou1Impact       How We Use Yoor Data   Wl\yPriv<,cy Matters           62 Bnttoo Street,
                                                         Advocacy and Lmgation                     How We Learned         Learn a!x>ut issues            l.oodon, EClM SUV
                                                                                   Govemonce
                                                                                                                                                         UK
                                                         Research                  People          Why Cookies?!          Learn c1bout Data P1oteci1on
                                                                                                                                                         Ct,ar11y Reg,str<111on No: 11474n
                                                         Legol Acuon               Oppo1tunrties                          llrcwse Examples of Abuse
                                                         O.,r Demands              fmonool                                Listen to our podcost          Olde here to contact us.

                                                                                   SeJVice Stows                                                         OIC1< here for me<fio ond press enqc,ues.
